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                                                                                              19 Counterclaimant, Snap Inc.
                                                                                              20                        UNITED STATES DISTRICT COURT
                                                                                              21                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                              22 WONDERKILN, INC.,                            Case No. 2:22-cv-03311-RGK (MARx)
                                                                                              23              Plaintiff,                      [PROPOSED] STIPULATED
                                                                                                                                              PROTECTIVE ORDER
                                                                                              24          v.
                                                                                                                                              DISCOVERY MATTER
                                                                                              25 SNAP INC.,
                                                                                                                                              Hon. Margo A. Rocconi
                                                                                              26                     Defendant.
                                                                                              27
                                                                                              28 AND RELATED COUNTERCLAIMS.

                                                                                                                                  STIPULATED PROTECTIVE ORDER
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                                                                                               1       1.      INTRODUCTION
                                                                                               2               1.1   PURPOSES AND LIMITATIONS
                                                                                               3            Discovery in this action is likely to involve production of confidential, proprietary,
                                                                                               4 or private information for which special protection from public disclosure and from use for
                                                                                               5 any purpose other than prosecuting this litigation may be warranted. Accordingly, the
                                                                                               6 parties hereby stipulate to and petition the Court to enter the following Stipulated Protective
                                                                                               7 Order. The parties acknowledge that this Order does not confer blanket protections on all
                                                                                               8 disclosures or responses to discovery and that the protection it affords from public
                                                                                               9 disclosure and use extends only to the limited information or items that are entitled to
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                                                                                              10 confidential treatment under the applicable legal principles. The parties further
                                                                                              11 acknowledge, as set forth in Section 12.3, below, that this Stipulated Protective Order does
                                                                                              12 not entitle them to file confidential information under seal; Civil Local Rule 79-5 sets forth
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                                                                                              13 the procedures that must be followed and the standards that will be applied when a party
                                                                                              14 seeks permission from the court to file material under seal.
                                                                                              15            1.2      GOOD CAUSE STATEMENT
                                                                                              16            This action is likely to involve trade secrets, customer and pricing lists and other
                                                                                              17 valuable research, development, commercial, financial, technical and/or proprietary
                                                                                              18 information for which special protection from public disclosure and from use for any
                                                                                              19 purpose other than prosecution of this action is warranted. Such confidential and
                                                                                              20 proprietary materials and information consist of, among other things, confidential business
                                                                                              21 or financial information, information regarding confidential business practices, or other
                                                                                              22 confidential research, development, or commercial information (including information
                                                                                              23 implicating privacy rights of third parties), information otherwise generally unavailable to
                                                                                              24 the public, or which may be privileged or otherwise protected from disclosure under state
                                                                                              25 or federal statutes, court rules, case decisions, or common law. Accordingly, to expedite
                                                                                              26 the flow of information, to facilitate the prompt resolution of disputes over confidentiality
                                                                                              27 of discovery materials, to adequately protect information the parties are entitled to keep
                                                                                              28                                                   2
                                                                                                                                    STIPULATED PROTECTIVE ORDER
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                                                                                               1 confidential, to ensure that the parties are permitted reasonable necessary uses of such
                                                                                               2 material in preparation for and in the conduct of trial, to address their handling at the end
                                                                                               3 of the litigation, and serve the ends of justice, a protective order for such information is
                                                                                               4 justified in this matter. It is the intent of the parties that information will not be designated
                                                                                               5 as confidential for tactical reasons and that nothing be so designated without a good faith
                                                                                               6 belief that it has been maintained in a confidential, non-public manner, and there is good
                                                                                               7 cause why it should not be part of the public record of this case.
                                                                                               8       2.     DEFINITIONS
                                                                                               9            2.1    Action: this pending federal lawsuit.
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                                                                                              10            2.2    Challenging Party: a Party or Non-Party that challenges the designation of
                                                                                              11 information or items under this Order.
                                                                                              12            2.3    “CONFIDENTIAL” Information or Items: information (regardless of how
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                                                                                              13 it is generated, stored or maintained) or tangible things that qualify for protection under
                                                                                              14 Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause Statement.
                                                                                              15            2.4    “HIGHLY       CONFIDENTIAL          –    ATTORNEYS’         EYES      ONLY”
                                                                                              16 Information or Items: extremely sensitive “Confidential Information or Items,” disclosure
                                                                                              17 of which to another Party or Non-Party would create a substantial risk of serious harm that
                                                                                              18 could not be avoided by less restrictive means
                                                                                              19            2.5    “HIGHLY CONFIDENTIAL – SOURCE CODE” Protected Material:
                                                                                              20 sensitive “Confidential Protected Material” representing or consisting of Source Code as
                                                                                              21 defined in section 2.18.
                                                                                              22            2.6    Counsel: Outside Counsel of Record and House Counsel (as well as their
                                                                                              23 support staff).
                                                                                              24            2.7    Designating Party: a Party or Non-Party that designates information or
                                                                                              25 items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or
                                                                                              26 “HIGHLY          CONFIDENTIAL        –   ATTORNEYS’         EYES     ONLY”      or   “HIGHLY
                                                                                              27 CONFIDENTIAL – SOURCE CODE.”
                                                                                              28                                                 3
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                                                                                               1          2.8         Disclosure or Discovery Material: all items or information, regardless of
                                                                                               2 the medium or manner in which it is generated, stored, or maintained (including, among
                                                                                               3 other things, testimony, transcripts, and tangible things), that are produced or generated in
                                                                                               4 disclosures or responses to discovery in this matter.
                                                                                               5          2.9         Expert: a person with specialized knowledge or experience in a matter
                                                                                               6 pertinent to the litigation who has been retained by a Party or its counsel to serve as an
                                                                                               7 expert witness or as a consultant in this Action.
                                                                                               8          2.10        House Counsel: attorneys who are employees of a party to this Action.
                                                                                               9 House Counsel does not include Outside Counsel of Record or any other outside counsel.
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                                                                                              10          2.11        Non-Party: any natural person, partnership, corporation, association, or
                                                                                              11 other legal entity not named as a Party to this action.
                                                                                              12          2.12        Outside Counsel of Record: attorneys who are not employees of a party to
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                                                                                              13 this Action but are retained to represent or advise a party to this Action and have appeared
                                                                                              14 in this Action on behalf of that party or are affiliated with a law firm which has appeared
                                                                                              15 on behalf of that party, and includes support staff.
                                                                                              16          2.13        Party: any party to this Action, including all of its officers, directors,
                                                                                              17 employees, consultants, retained experts, and Outside Counsel of Record (and their support
                                                                                              18 staffs).
                                                                                              19          2.14        Producing Party: a Party or Non-Party that produces Disclosure or
                                                                                              20 Discovery Material in this Action.
                                                                                              21          2.15        Professional Vendors: persons or entities that provide litigation support
                                                                                              22 services        (e.g.,   photocopying,   videotaping,   translating,    preparing   exhibits   or
                                                                                              23 demonstrations, and organizing, storing, or retrieving data in any form or medium) and
                                                                                              24 their employees and subcontractors.
                                                                                              25          2.16        Protected Material: any Disclosure or Discovery Material that is designated
                                                                                              26 as “CONFIDENTIAL” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                                                                              27 ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
                                                                                              28                                                  4
                                                                                                                                    STIPULATED PROTECTIVE ORDER
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                                                                                               1            2.17    Receiving Party: a Party that receives Disclosure or Discovery Material
                                                                                               2 from a Producing Party.
                                                                                               3            2.18    Source Code: computer code, associated comments, and/or revision
                                                                                               4 histories for computer code, formulas, engineering specifications, or schematics that define
                                                                                               5 or otherwise describe in detail the algorithms or structure of software or hardware designs.
                                                                                               6       3.     SCOPE
                                                                                               7              The protections conferred by this Stipulation and Order cover not only Protected
                                                                                               8 Material (as defined above), but also (1) any information copied or extracted from
                                                                                               9 Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
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                                                                                              10 Material; and (3) any testimony, conversations, or presentations by Parties or their Counsel
                                                                                              11 that might reveal Protected Material.
                                                                                              12              Any use of Protected Material at trial will be governed by the orders of the trial
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                                                                                              13 judge. This Order does not govern the use of Protected Material at trial.
                                                                                              14       4.     DURATION
                                                                                              15              Even after final disposition of this litigation, the confidentiality obligations
                                                                                              16 imposed by this Order will remain in effect until a Designating Party agrees otherwise in
                                                                                              17 writing or a court order otherwise directs. Final disposition will be deemed to be the later
                                                                                              18 of (1) dismissal of all claims and defenses in this Action, with or without prejudice; and
                                                                                              19 (2) final judgment herein after the completion and exhaustion of all appeals, rehearings,
                                                                                              20 remands, trials, or reviews of this Action, including the time limits for filing any motions
                                                                                              21 or applications for extension of time pursuant to applicable law.
                                                                                              22       5.     DESIGNATING PROTECTED MATERIAL
                                                                                              23              5.1   Exercise of Restraint and Care in Designating Material for Protection. Each
                                                                                              24 Party or Non-Party that designates information or items for protection under this Order
                                                                                              25 must take care to limit any such designation to specific material that qualifies under the
                                                                                              26 appropriate standards. For written discovery responses, the Designating Party must
                                                                                              27 designate for protection only those responses, or parts of responses, that qualify so that the
                                                                                              28                                                 5
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                                                                                               1 remaining portions of the written discovery responses for which protection is not warranted
                                                                                               2 are not swept unjustifiably within the ambit of this Order. Designations that are shown to
                                                                                               3 be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily
                                                                                               4 encumber the case development process or to impose unnecessary expenses and burdens
                                                                                               5 on other parties) may expose the Designating Party to sanctions.
                                                                                               6          If it comes to a Designating Party’s attention that information or items that it
                                                                                               7 designated for protection do not qualify for protection, that Designating Party must
                                                                                               8 promptly notify all other Parties that it is withdrawing the inapplicable designation.
                                                                                               9          5.2      Manner and Timing of Designations. Except as otherwise provided in this
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                                                                                              10 Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
                                                                                              11 ordered, Disclosure or Discovery Material that qualifies for protection under this Order
                                                                                              12 must be clearly so designated before the material is disclosed or produced.
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                                                                                              13          Designation in conformity with this Order requires
                                                                                              14                (a) for information in documentary form (e.g., paper or electronic documents,
                                                                                              15 but excluding transcripts of depositions or other pretrial or trial proceedings), that the
                                                                                              16 Producing Party affix at a minimum, the legend “CONFIDENTIAL” or “HIGHLY
                                                                                              17 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –
                                                                                              18 SOURCE CODE” (hereinafter “CONFIDENTIAL legend”), to each page that contains
                                                                                              19 protected material. If only a portion or portions of the material on a page qualifies for
                                                                                              20 protection, the Producing Party also must clearly identify the protected portion(s) (e.g., by
                                                                                              21 making appropriate markings in the margins).
                                                                                              22          A Party or Non-Party that makes original documents available for inspection need
                                                                                              23 not designate them for protection until after the inspecting Party has indicated which
                                                                                              24 documents it would like copied and produced. During the inspection and before the
                                                                                              25 designation, all of the material made available for inspection will be deemed “HIGHLY
                                                                                              26 CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the inspecting Party has
                                                                                              27 identified the documents it wants copied and produced, the Producing Party must determine
                                                                                              28                                               6
                                                                                                                                  STIPULATED PROTECTIVE ORDER
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                                                                                               1 which documents, or portions thereof, qualify for protection under this Order. Then,
                                                                                               2 before producing the specified documents, the Producing Party must affix the
                                                                                               3 “CONFIDENTIAL legend” to each page that contains Protected Material. If only a portion
                                                                                               4 or portions of the material on a page qualifies for protection, the Producing Party also must
                                                                                               5 clearly identify the protected portion(s) (e.g., by making appropriate markings in the
                                                                                               6 margins).
                                                                                               7                   (b) for testimony given in depositions that the Designating Party identify the
                                                                                               8 Disclosure or Discovery Material constituting protected testimony on the record, before
                                                                                               9 the close of the deposition.
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                                                                                              10                  (c) for information produced in some form other than documentary and for
                                                                                              11 any other tangible items, that the Producing Party affix in a prominent place on the exterior
                                                                                              12 of the container or containers in which the information is stored the “CONFIDENTIAL
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                                                                                              13 legend.” If only a portion or portions of the information warrants protection, the Producing
                                                                                              14 Party, to the extent practicable, will identify the protected portion(s).
                                                                                              15            5.3       Inadvertent Failures to Designate. If timely corrected, an inadvertent
                                                                                              16 failure to designate qualified information or items does not, standing alone, waive the
                                                                                              17 Designating Party’s right to secure protection under this Order for such material. Upon
                                                                                              18 timely correction of a designation, the Receiving Party must make reasonable efforts to
                                                                                              19 assure that the material is treated in accordance with the provisions of this Order.
                                                                                              20       6.   CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                                                                              21            6.1       Timing of Challenges. Any Party or Non-Party may challenge a
                                                                                              22 designation of confidentiality at any time that is consistent with the Court’s Scheduling
                                                                                              23 Order.
                                                                                              24             6.2      Meet and Confer. The Challenging Party will initiate the dispute resolution
                                                                                              25 process under Local Rule 37-1, et seq.
                                                                                              26             6.3      The burden of persuasion in any such challenge proceeding will be on the
                                                                                              27 Designating Party. Frivolous challenges, and those made for an improper purpose (e.g., to
                                                                                              28                                                  7
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                                                                                               1 harass or impose unnecessary expenses and burdens on other parties) may expose the
                                                                                               2 Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn the
                                                                                               3 confidentiality designation, all parties will continue to afford the material in question the
                                                                                               4 level of protection to which it is entitled under the Producing Party’s designation until the
                                                                                               5 Court rules on the challenge.
                                                                                               6       7.   ACCESS TO AND USE OF PROTECTED MATERIAL
                                                                                               7            7.1     Basic Principles. A Receiving Party may use Protected Material that is
                                                                                               8 disclosed or produced by another Party or by a Non-Party in connection with this Action
                                                                                               9 only for prosecuting, defending, or attempting to settle this Action. Such Protected
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                                                                                              10 Material may be disclosed only to the categories of persons and under the conditions
                                                                                              11 described in this Order. When the Action has been terminated, a Receiving Party must
                                                                                              12 comply with the provisions of section 13 below (FINAL DISPOSITION).
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                                                                                              13            Protected Material must be stored and maintained by a Receiving Party at a
                                                                                              14 location and in a secure manner that ensures that access is limited to the persons authorized
                                                                                              15 under this Order.
                                                                                              16            7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
                                                                                              17 ordered by the court or permitted in writing by the Designating Party, a Receiving Party
                                                                                              18 may disclose any information or item designated “CONFIDENTIAL” only to:
                                                                                              19               (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
                                                                                              20 employees of said Outside Counsel of Record to whom it is reasonably necessary to
                                                                                              21 disclose the information for this Action;
                                                                                              22                  (b) the officers, directors, and employees (including House Counsel) of the
                                                                                              23 Receiving Party to whom disclosure is reasonably necessary for this Action;
                                                                                              24               (c) Experts (as defined in this Order) of the Receiving Party to whom
                                                                                              25 disclosure is reasonably necessary for this Action and who have signed the
                                                                                              26 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                                              27               (d) the Court and its personnel;
                                                                                              28                                                  8
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                                                                                               1               (e) court reporters and their staff;
                                                                                               2                  (f) professional jury or trial consultants, mock jurors, and Professional
                                                                                               3 Vendors to whom disclosure is reasonably necessary for this Action and who have signed
                                                                                               4 the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                                               5               (g) the author or recipient of a document containing the information or a
                                                                                               6 custodian or other person who otherwise possessed or knew the information;
                                                                                               7                  (h) during their depositions, witnesses, and attorneys for witnesses, in the
                                                                                               8 Action to whom disclosure is reasonably necessary provided: (1) the deposing party
                                                                                               9 requests that the witness sign the form attached as Exhibit A hereto; and (2) they will not
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                                                                                              10 be permitted to keep any confidential information unless they sign the “Acknowledgment
                                                                                              11 and Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the Designating
                                                                                              12 Party or ordered by the court. Pages of transcribed deposition testimony or exhibits to
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                                                                                              13 depositions that reveal Protected Material may be separately bound by the court reporter
                                                                                              14 and may not be disclosed to anyone except as permitted under this Stipulated Protective
                                                                                              15 Order; and
                                                                                              16                  (i) any mediator or settlement officer, and their supporting personnel,
                                                                                              17 mutually agreed upon by any of the parties engaged in settlement discussions.
                                                                                              18            7.3      Disclosures of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                                                                                              19 ONLY” Information or Items. Unless otherwise ordered by the court or permitted in writing
                                                                                              20 by the Designating Party, a Receiving Party may disclose any information or item
                                                                                              21 designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:
                                                                                              22                  (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
                                                                                              23 employees of said Outside Counsel of Record to whom it is reasonably necessary to
                                                                                              24 disclose the information for this Action;
                                                                                              25                  (b) Experts (as defined in this Order) of the Receiving Party to whom
                                                                                              26 disclosure is reasonably necessary for this Action and who have signed the
                                                                                              27 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                                              28                                                 9
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                                                                                               1              (c) the Court and its personnel;
                                                                                               2              (d) court reporters and their staff, including videographers;
                                                                                               3              (e) professional jury or trial consultants, mock jurors, and Professional
                                                                                               4 Vendors to whom disclosure is reasonably necessary for this Action and who have signed
                                                                                               5 the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                                               6              (f) the author or recipient of a document containing the information or a
                                                                                               7 custodian or other person who otherwise possessed or knew the information;
                                                                                               8              (g) any mediator or settlement officer, and their supporting personnel,
                                                                                               9 mutually agreed upon by any of the parties engaged in settlement discussions.
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                                                                                              10 7.4   Disclosure of “HIGHLY CONFIDENTIAL – SOURCE CODE” Protected Material.
                                                                                              11 Unless otherwise ordered by the Court or permitted in writing by the Designating Party, a
                                                                                              12 Receiving Party may disclose any Disclosure or Discovery Material designated “HIGHLY
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                                                                                              13 CONFIDENTIAL – SOURCE CODE” only to:
                                                                                              14              (a) the Receiving Party’s Outside Counsel of Record in this action, as well as
                                                                                              15   employees of said Outside Counsel of Record to whom it is reasonably necessary to
                                                                                              16   disclose the information for this litigation;
                                                                                              17              (b) up to three Experts (as defined by this Stipulated Protective Order) of the
                                                                                              18   Receiving Party (1) to whom disclosure is reasonably necessary for this litigation, and
                                                                                              19   (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                                              20              (c) the Court and its personnel;
                                                                                              21              (d) court reporters and their staff,
                                                                                              22              (e) professional jury or trial consultants (but not mock jurors) who have signed
                                                                                              23   a confidentiality agreement, and Professional Vendors to whom disclosure is reasonably
                                                                                              24   necessary for this litigation and who have signed the “Acknowledgment and Agreement
                                                                                              25   to Be Bound” (Exhibit A);
                                                                                              26              (f) the author or recipient of a document containing the Protected Material or
                                                                                              27   a custodian who otherwise possessed or knew the Protected Material; and
                                                                                              28                                                   10
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                                                                                              1              (g) any mediator who is assigned to this matter, and his or her staff, who have
                                                                                              2    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A).
                                                                                              3      8.      DISCLOSURE AND INSPECTION OF SOURCE CODE
                                                                                              4                  (a) To the extent production or disclosure of Source Code is requested in
                                                                                              5    this case, a Producing Party may permit inspection of Source Code in a manner that
                                                                                              6    maintains security and confidentiality of the requested Source Code. Any Source Code
                                                                                              7    that is offered for inspection must be given all protections of “HIGHLY CONFIDENTIAL
                                                                                              8    - SOURCE CODE” and only individuals to whom “HIGHLY CONFIDENTIAL –
                                                                                              9    SOURCE CODE” Protected Material may be disclosed, as set forth in Paragraph 7.4 may
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                                                                                              10   inspect the Source Code.
                                                                                              11                 (b) Any Source Code to be produced or disclosed in discovery will be made
                                                                                              12   available for inspection upon reasonable notice to the Producing Party, which must not be
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                                                                                              13   fewer than five (5) business days in advance of the requested inspection. A secured
                                                                                              14   computer containing the Source Code in a format allowing it to be reasonably reviewed
                                                                                              15   and searched as well as commercially acceptable software for creating PDFs (“Source
                                                                                              16   Code Computer”), will be made available during normal business hours (9:00 am to 6:00
                                                                                              17   pm local time) or at other mutually agreeable times, at the Century City, California office
                                                                                              18   of the Producing Party’s Counsel or another mutually agreed upon location. The Source
                                                                                              19   Code inspection must occur in a room without Internet access or network access to other
                                                                                              20   computers, and the Receiving Party shall not copy, remove, or otherwise transfer any
                                                                                              21   portion of the Source Code onto any recordable media or recordable device. The
                                                                                              22   Producing Party may visually monitor the activities of the Receiving Party’s
                                                                                              23   representatives during any Source Code review, but only to ensure that there is no
                                                                                              24   unauthorized recording, copying, or transmission of the Source Code. All persons entering
                                                                                              25   the inspection room where the Source Code is being viewed shall sign a log that includes
                                                                                              26   the names of persons who enter the room and the dates and times when they enter and
                                                                                              27   depart.
                                                                                              28                                              11
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                                                                                              1                  (c) The Receiving Party may request paper copies of limited portions of
                                                                                              2    Source Code that are reasonably necessary to prepare filings, pleadings, expert reports, or
                                                                                              3    other papers, or for use as an exhibit at deposition or trial. Under no circumstances will a
                                                                                              4    Receiving Party be provided paper copies for the purposes of reviewing the Source Code
                                                                                              5    as review of Source Code is only permitted electronically as set forth in paragraph (b)
                                                                                              6    above. Absent an order of the Court upon a showing of good cause, the Receiving Party
                                                                                              7    shall not receive more than 10 consecutive pages or an aggregate of more than 100 full
                                                                                              8    pages of Source Code during the duration of the case without prior written approval of the
                                                                                              9    Producing Party. When the Receiving Party requests paper copies of Source Code, the
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                                                                                              10   Receiving Party shall use the software available on the Source Code Computer to create
                                                                                              11   PDFs of the portions of the Source Code for which the Receiving Party is requesting
                                                                                              12   printed copies and save them in a folder on the desktop named “Print Requests” with a
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                                                                                              13   subfolder identifying the date of the request.      The PDFs must include identifying
                                                                                              14   information, if made available by the Producing Party, including the full file path and file
                                                                                              15   name from which the Source Code was converted to PDF, the page number and line
                                                                                              16   numbers of the Source Code if the IDE or other program for reviewing and searching the
                                                                                              17   Source Code provides such information and allows it to be readily included in the PDF,
                                                                                              18   and the date the printout of the Source Code PDF was requested. The request for printed
                                                                                              19   Source Code must be served via an email request identifying the subfolders of the “Print
                                                                                              20   Requests” folder that the Receiving Party is requesting. Within three (3) business days of
                                                                                              21   such request, the Producing Party shall provide one copy of all such Source Code on paper
                                                                                              22   including Bates Numbers and the label “HIGHLY CONFIDENTIAL - SOURCE CODE.”
                                                                                              23   The Requesting Party may challenge the amount of Source Code to be provided in hard
                                                                                              24   copy form pursuant to the dispute resolution procedure set forth in Section 6.
                                                                                              25                 (d) The Receiving Party shall maintain a log of all paper copies of the
                                                                                              26   Source Code. The log must include the names of all reviewers and recipients of paper
                                                                                              27   copies and locations where each paper copy is stored. Upon five (5) day’s advance written
                                                                                              28                                               12
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                                                                                              1    notice to the Receiving Party by the Producing Party, the Receiving Party shall provide a
                                                                                              2    copy of this log to the Producing Party. The Receiving Party shall maintain all paper
                                                                                              3    copies of any printed portions of the Source Code in accordance with Section 9(h) below.
                                                                                              4    Except as required for electronic filing with the Court, the Receiving Party is prohibited
                                                                                              5    from creating any electronic or other images or making physical or electronic copies of
                                                                                              6    the Source Code from any paper copy of the Source Code for use in any manner (including
                                                                                              7    by way of example only, the Receiving Party may not scan the Source Code to a PDF or
                                                                                              8    photograph the code) and must not convert any of the Protected Material contained in the
                                                                                              9    paper copies of Source Code into any electronic format. Images or copies of Source Code
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                                                                                              10   must not be included in correspondence between the Parties (references to production
                                                                                              11   numbers must be used instead) and must be omitted from pleadings and other papers. The
                                                                                              12   Receiving Party may only request additional paper copies if such additional copies are (1)
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                                                                                              13   necessary to prepare court filings, pleadings, or other papers (including a testifying
                                                                                              14   Expert’s expert report), (2) necessary for deposition, or (3) necessary for trial. The
                                                                                              15   Receiving Party shall not request paper copies for the purposes of reviewing the Source
                                                                                              16   Code other than electronically as set forth in paragraph (b) in the first instance. To the
                                                                                              17   extent a deposition is likely to involve Source Code, the Party taking the deposition, shall
                                                                                              18   provide at least seven (7) calendar days written notice of that fact, and the Producing Party
                                                                                              19   will make paper copies of Source Code available for use at the deposition.       Except for
                                                                                              20   those paper copies that have been provided to the Receiving Party, any paper copies used
                                                                                              21   during a deposition will be retrieved by the Producing Party at the end of each day and
                                                                                              22   must not be given to or left with a court reporter or any other unauthorized individual.
                                                                                              23                 (e) The Producing Party shall install tools that are sufficient for viewing
                                                                                              24   the Source Code produced for inspection on the Source Code Computer and for converting
                                                                                              25   such Source Code into PDF format. The Receiving Party’s Outside Counsel and/or
                                                                                              26   experts/consultants may request that additional commercially available software tools for
                                                                                              27   viewing and searching Source Code be installed on the Source Code Computer, provided,
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                                                                                              1    however, that (a) the Receiving Party possesses an appropriate license to such software
                                                                                              2    tools; (b) the Producing Party approves such software tools; and (c) such other software
                                                                                              3    tools are reasonably necessary for the Receiving Party to perform its review of the Source
                                                                                              4    Code consistent with all of the protections herein. The Producing Party shall approve
                                                                                              5    reasonable requests for additional commercially available software tools. The Receiving
                                                                                              6    Party must provide the Producing Party with the CD, DVD, file path, or Advanced
                                                                                              7    Package Tool package containing such licensed software tool(s) at least six (6) business
                                                                                              8    days in advance of the date upon which the Receiving Party wishes to have the additional
                                                                                              9    software tools available for use on the Source Code Computer. The Producing Party shall
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                                                                                              10   make reasonable attempts to install the requested software but will not be held responsible
                                                                                              11   for the proper setup, functioning, or support of any software requested by the Receiving
                                                                                              12   Party. By way of example, the Producing Party will not compile or debug software for
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                                                                                              13   installation.
                                                                                              14                   (f) No recordable media or recordable devices, including, without
                                                                                              15   limitation, sound recorders, computers, cellular telephones, peripheral equipment,
                                                                                              16   cameras, CDs, DVDs, or drives of any kind, will be permitted into the Source Code review
                                                                                              17   room. For avoidance of doubt, use or possession of any input/output device (e.g., USB
                                                                                              18   memory stick, mobile phone or tablet, camera or any camera-enabled device, CD, floppy
                                                                                              19   disk, portable hard drive, laptop, or any device that can access the Internet or any other
                                                                                              20   network or external system, etc.) is prohibited while accessing the computer containing
                                                                                              21   the Source Code.
                                                                                              22                   (g) The Receiving Party’s Outside Counsel and/or experts/consultants will
                                                                                              23   be entitled to take hand-written notes relating to the Source Code but may not copy the
                                                                                              24   Source Code into the notes and may not take such notes electronically on the Source Code
                                                                                              25   Computer itself or any other computer.
                                                                                              26                   (h) The Receiving Party’s Outside Counsel and any person receiving a
                                                                                              27   copy of any Source Code shall maintain and store any paper copies of the Source Code
                                                                                              28                                               14
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                                                                                               1   and any notes taken during the inspection of the Source Code that reveal the substance or
                                                                                               2   content of the Source Code at their offices in a manner that prevents duplication of or
                                                                                               3   unauthorized access to the Source Code, including, without limitation, storing the Source
                                                                                               4   Code in a locked room or cabinet at all times when it is not in use. No more than a total of
                                                                                               5   three (3) persons1 identified by the Receiving Party, excluding Outside Counsel, may have
                                                                                               6   access to the Source Code.
                                                                                               7                   (i) To the extent that the Receiving Party’s Outside Counsel and any
                                                                                               8   person receiving a copy of any Source Code maintain an office in their home and at
                                                                                               9   another location, the Receiving Party’s Outside Counsel and any person receiving a copy
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                                                                                              10   of any Source Code shall endeavor, to the extent possible, to avoid or to minimize the
                                                                                              11   transport any copies of Source Code between those locations.
                                                                                              12      9.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
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                                                                                              13 IN OTHER LITIGATION
                                                                                              14           If a Party is served with a subpoena or a court order issued in other litigation that
                                                                                              15 compels disclosure of any information or items designated in this Action as
                                                                                              16 “CONFIDENTIAL,” that Party must:
                                                                                              17                 (a) promptly notify in writing the Designating Party. Such notification will
                                                                                              18 include a copy of the subpoena or court order;
                                                                                              19                 (b) promptly notify in writing the party who caused the subpoena or order to
                                                                                              20 issue in the other litigation that some or all of the material covered by the subpoena or order
                                                                                              21 is subject to this Protective Order. Such notification will include a copy of this Stipulated
                                                                                              22 Protective Order; and
                                                                                              23                 (c) cooperate with respect to all reasonable procedures sought to be pursued
                                                                                              24 by the Designating Party whose Protected Material may be affected.
                                                                                              25           If the Designating Party timely seeks a protective order, the Party served with the
                                                                                              26
                                                                                                   1 For the purpose of this provision, a “person” does not include an individual’s
                                                                                              27
                                                                                                   employees, staff, partners, consultants, or any other direct or indirect reports.
                                                                                              28                                                 15
                                                                                                                                   STIPULATED PROTECTIVE ORDER
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                                                                                               1 subpoena or court order will not produce any Protected Material designated in this action
                                                                                               2 before a determination by the court from which the subpoena or order issued, unless the
                                                                                               3 Party has obtained the Designating Party’s permission. The Designating Party will bear
                                                                                               4 the burden and expense of seeking protection in that court of its confidential material and
                                                                                               5 nothing in these provisions should be construed as authorizing or encouraging a Receiving
                                                                                               6 Party in this Action to disobey a lawful directive from another court.
                                                                                               7     10.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                                                                               8 PRODUCED IN THIS LITIGATION
                                                                                               9               (a) The terms of this Order are applicable to information produced by a Non-
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                                                                                              10 Party in this Action and designated as Protected Material. Such information produced by
                                                                                              11 Non-Parties in connection with this litigation is protected by the remedies and relief
                                                                                              12 provided by this Order. Nothing in these provisions should be construed as prohibiting a
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                                                                                              13 Non-Party from seeking additional protections.
                                                                                              14               (b) In the event that a Party is required, by a valid discovery request, to
                                                                                              15 produce a Non-Party’s Protected Information in its possession, and the Party is subject to
                                                                                              16 an agreement with the Non-Party not to produce the Non-Party’s confidential information,
                                                                                              17 then the Party will:
                                                                                              18                  (1) promptly notify in writing the Requesting Party and the Non-Party that
                                                                                              19 some or all of the information requested is subject to a confidentiality agreement with a
                                                                                              20 Non-Party;
                                                                                              21                  (2) promptly provide the Non-Party with a copy of the Stipulated
                                                                                              22 Protective Order in this Action, the relevant discovery request(s), and a reasonably specific
                                                                                              23 description of the information requested; and
                                                                                              24                  (3) make the information requested available for inspection by the Non-
                                                                                              25 Party, if requested.
                                                                                              26               (c) If the Non-Party fails to seek a protective order from this court within 14
                                                                                              27 days of receiving the notice and accompanying information, the Receiving Party may
                                                                                              28                                               16
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                                                                                               1 produce the Non-Party’s Protected Information responsive to the discovery request. If the
                                                                                               2 Non-Party timely seeks a protective order, the Receiving Party shall not produce any
                                                                                               3 information in its possession or control that is subject to the confidentiality agreement with
                                                                                               4 the Non-Party before a determination by the court. Absent a court order to the contrary, the
                                                                                               5 Non-Party shall bear the burden and expense of seeking protection in this court of its
                                                                                               6 Protected Material.
                                                                                               7     11.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                                                                               8              If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                                                                                               9 Protected Material to any person or in any circumstance not authorized under this
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                                                                                              10 Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing the
                                                                                              11 Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
                                                                                              12 unauthorized copies of the Protected Material, (c) inform the person or persons to whom
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                                                                                              13 unauthorized disclosures were made of all the terms of this Order, and (d) request such
                                                                                              14 person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is
                                                                                              15 attached hereto as Exhibit A.
                                                                                              16     12.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                                                                              17 PROTECTED MATERIAL
                                                                                              18           When a Producing Party gives notice to Receiving Parties that certain inadvertently
                                                                                              19 produced material is subject to a claim of privilege or other protection, the obligations of
                                                                                              20 the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
                                                                                              21 This provision is not intended to modify whatever procedure may be established in an
                                                                                              22 e-discovery order that provides for production without prior privilege review. Pursuant to
                                                                                              23 Federal Rule of Evidence 502(d) and (e), the parties have reached an agreement on the effect
                                                                                              24 of disclosure of a communication or information covered by the attorney-client privilege,
                                                                                              25 attorney work-product doctrine, the common-interest privilege, or any other applicable
                                                                                              26 privilege as follows:
                                                                                              27              12.1 Purpose: Pursuant to Federal Rules of Evidence 502(d), the production or
                                                                                              28                                                17
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                                                                                               1 disclosure of any privileged or otherwise protected documents (as defined by
                                                                                               2 Fed. R. Civ. P. 34(a)(1)) and accompanying metadata (“Documents”), shall not result in
                                                                                               3 the waiver of any privilege or other protection (including, without limitation, the attorney-
                                                                                               4 client privilege, the work-product doctrine, the joint-defense privilege, the common-
                                                                                               5 interest privilege, or any other applicable privilege) associated with such Documents as to
                                                                                               6 the Receiving party or any third parties. The production or disclosure shall not result in any
                                                                                               7 waiver, including subject matter waiver, of any kind, in this or in any other state or federal
                                                                                               8 proceeding regardless of the circumstances of disclosure pursuant to Federal Rule of
                                                                                               9 Evidence 502(d). This Paragraph shall be interpreted to provide the maximum protection
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                                                                                              10 allowed by Federal Rule of Evidence 502(d) with regard to Documents.
                                                                                              11            12.2 Clawback Agreement: In the event that a Producing Party discovers that it
                                                                                              12 produced Documents subject to a legally recognized claim of privilege or work-product
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                                                                                              13 protection, it shall provide written notice of the claim to the Receiving Party (a “Clawback
                                                                                              14 Notice”), identifying the subject Documents within thirty days of the discovery. The
                                                                                              15 Producing Party shall also concurrently provide a privilege log listing the disclosed
                                                                                              16 Documents.
                                                                                              17            12.3 Procedures for Following Clawback Notice
                                                                                              18               (a) Within ten business days of receipt of a Clawback Notice (regardless of
                                                                                              19 whether the receiving party agrees with the producing party’s claim of privilege) or a
                                                                                              20 receiving party’s own determination that information it received is privileged or work-
                                                                                              21 product-protected, the receiving party must promptly return and/or destroy the
                                                                                              22 Document(s), all copies thereof, and any notes that reproduce, copy, or otherwise disclose
                                                                                              23 the substance of the information for which privilege is claimed, and notify the producing
                                                                                              24 party when this is complete.
                                                                                              25               (b) If a receiving party challenges a claim that a Document specified in a
                                                                                              26 Clawback Notice is privileged or work-product-protected, the receiving party shall notify
                                                                                              27 the producing party of its positions within fourteen days of receiving the Clawback Notice
                                                                                              28                                               18
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                                                                                               1 asserting the claim. Within fourteen days of the producing party’s receiving notification of
                                                                                               2 the dispute, the parties shall meet and confer in an effort to resolve their disagreement. If
                                                                                               3 the parties are unable to resolve their disagreement, either party may submit the issue to
                                                                                               4 the Court for a determination and may submit the Document(s) at issue under seal for in
                                                                                               5 camera review pursuant to Civil Local Rule 79-5. In submitting such a dispute to the Court,
                                                                                               6 the parties must follow the procedure outlined in Civil Local Rule 37, the Hon. Margo A.
                                                                                               7 Rocconi’s Standing Order on Discovery Disputes, and the Hon. Margo A. Rocconi’s
                                                                                               8 Procedures and Schedules page on this Court’s website. The Document(s) covered by the
                                                                                               9 Clawback Notice shall not be used or disclosed by the receiving party during the time in
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                                                                                              10 which the parties are meeting and conferring about the privileged nature of the
                                                                                              11 Document(s) or during the time in which the privilege dispute is before the Court.
                                                                                              12              12.4 Prohibition on Use of Privileged Information: To the extent any party is
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                                                                                              13 aware that it has obtained privileged or work-product-protected information, or has received
                                                                                              14 a Clawback Notice, or it is reasonably apparent that the party has obtained, privileged or
                                                                                              15 work-product-protected information through production, disclosure, or communications,
                                                                                              16 such information may not be submitted to the Court (except in connection with a challenge
                                                                                              17 of the privilege assertion) or presented for admission into evidence or sought in discovery in
                                                                                              18 this proceeding or in any other proceeding or action. The party must immediately notify the
                                                                                              19 opposing party of its possession of such privileged information and return or destroy such
                                                                                              20 information or Documents. Any Documents at issue in a privilege challenge that are filed
                                                                                              21 with the Court must be filed under seal for in camera review pursuant to Civil Local
                                                                                              22 Rule 79-5.
                                                                                              23     13.      RESERVATION OF RIGHTS
                                                                                              24           By entering into this Stipulation or designating any Protected Material
                                                                                              25 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
                                                                                              26 “HIGHLY CONFIDENTIAL – SOURCE CODE” the Parties do not acknowledge that
                                                                                              27 any such Protected Material is relevant or discoverable in this action. This Protective
                                                                                              28                                                19
                                                                                                                                   STIPULATED PROTECTIVE ORDER
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                                                                                               1 Order shall not constitute a waiver of any right to seek discovery of, or alternatively to
                                                                                               2 resist discovery of, any material in this action. Designation of Protected Material as
                                                                                               3 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
                                                                                               4 “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to this Protective Order does
                                                                                               5 not in any way restrict or adversely affect the Designating Party’s use or disclosure of
                                                                                               6 such documents.
                                                                                               7     14.    MISCELLANEOUS
                                                                                               8            14.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                                                                               9 person to seek its modification by the Court in the future.
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                                                                                              10            14.2 Right to Assert Other Objections. By stipulating to the entry of this
                                                                                              11 Protective Order no Party waives any right it otherwise would have to object to disclosing
                                                                                              12 or producing any information or item on any ground not addressed in this Stipulated
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                                                                                              13 Protective Order. Similarly, no Party waives any right to object on any ground to use in
                                                                                              14 evidence of any of the material covered by this Protective Order.
                                                                                              15            14.3 Filing Protected Material. A Party that seeks to file under seal any
                                                                                              16 Protected Material must comply with Civil Local Rule 79-5. Protected Material may only
                                                                                              17 be filed under seal pursuant to a court order authorizing the sealing of the specific Protected
                                                                                              18 Material at issue. If a Party’s request to file Protected Material under seal is denied by the
                                                                                              19 court, then the Receiving Party may file the information in the public record unless
                                                                                              20 otherwise instructed by the court.
                                                                                              21     15.    FINAL DISPOSITION
                                                                                              22            Within 60 days after the final disposition of this Action, as defined in paragraph 4,
                                                                                              23 each Receiving Party must return all Protected Material to the Producing Party or destroy
                                                                                              24 such material. As used in this subdivision, “all Protected Material” includes all copies,
                                                                                              25 abstracts, compilations, summaries, and any other format reproducing or capturing any of
                                                                                              26 the Protected Material. Whether the Protected Material is returned or destroyed, the
                                                                                              27 Receiving Party must submit a written certification to the Producing Party (and, if not the
                                                                                              28                                                20
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                                                                                               1 same person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
                                                                                               2 (by category, where appropriate) all the Protected Material that was returned or destroyed
                                                                                               3 and (2) affirms that the Receiving Party has not retained any copies, abstracts,
                                                                                               4 compilations, summaries or any other format reproducing or capturing any of the Protected
                                                                                               5 Material. Notwithstanding this provision, Counsel are entitled to retain an archival copy of
                                                                                               6 all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,
                                                                                               7 correspondence, deposition and trial exhibits, expert reports, attorney work product, and
                                                                                               8 consultant and expert work product, even if such materials contain Protected Material. Any
                                                                                               9 such archival copies that contain or constitute Protected Material remain subject to this
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                                                                                              10 Protective Order as set forth in Section 4 (DURATION).
                                                                                              11     16.   Any willful violation of this Order may be punished by civil or criminal contempt
                                                                                              12 proceedings, financial or evidentiary sanctions, reference to disciplinary authorities, or
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                                                                                              13 other appropriate action at the discretion of the Court.
                                                                                              14
                                                                                              15 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                                                                              16 DATED: December 7, 2022                       Tucker Ellis LLP
                                                                                              17
                                                                                              18                                               By:   /s/Steven E. Lauridsen
                                                                                              19                                                     Steven E. Lauridsen
                                                                                              20                                                     Attorneys for Plaintiff and
                                                                                                                                                     Counter-defendant, WonderKiln, Inc.
                                                                                              21
                                                                                                   DATED: December 7, 2022                     KILPATRICK TOWNSEND &
                                                                                              22                                               STOCKTON LLP
                                                                                              23
                                                                                              24                                               By:   /s/Kollin J. Zimmermann
                                                                                              25                                                     Kollin J. Zimmermann
                                                                                              26                                                     Attorneys for Defendant and
                                                                                                                                                     Counterclaimant, Snap Inc.
                                                                                              27
                                                                                              28                                              21
                                                                                                                                 STIPULATED PROTECTIVE ORDER
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                                                                                              1                                       ATTESTATION
                                                                                              2        Pursuant to Local Rule 5-4.3.4(a)(2), the filing party attests that all other signatories
                                                                                              3 listed, and on whose behalf the filing is submitted, concur in the filing’s content and have
                                                                                              4 authorized the filing.
                                                                                              5
                                                                                              6                                                    /s/Steven E. Lauridsen
                                                                                              7
                                                                                              8
                                                                                              9 PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                                                                                              10
                                                                                              11
                                                                                                    DATED: December 14, 2022
                                                                                              12                                                Hon Margo A.
                                                                                                                                                Hon.        A Rocconi
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                                                                                              13                                                United States Magistrate Judge
                                                                                              14
                                                                                              15
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                                                                                                                                STIPULATED PROTECTIVE ORDER
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                                                                                               1                                    EXHIBIT A
                                                                                               2          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                                                                               3        I,                                          [print or type full name], of
                                                                                               4                            [print or type full address], declare under penalty of perjury that
                                                                                               5 I have read in its entirety and understand the Stipulated Protective Order that was issued
                                                                                               6 by the United States District Court for the Central District of California on
                                                                                               7 [date] in the case of WonderKiln, Inc. v. Snap, Inc., No. 2:22-cv-03311-RGK (MARx). I
                                                                                               8 agree to comply with and to be bound by all the terms of this Stipulated Protective Order
                                                                                               9 and I understand and acknowledge that failure to so comply could expose me to sanctions
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                                                                                              10 and punishment in the nature of contempt. I solemnly promise that I will not disclose in
                                                                                              11 any manner any information or item that is subject to this Stipulated Protective Order to
                                                                                              12 any person or entity except in strict compliance with the provisions of this Order.
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                                                                                              13        I further agree to submit to the jurisdiction of the United States District Court for
                                                                                              14 the Central District of California for the purpose of enforcing the terms of this Stipulated
                                                                                              15 Protective Order, even if such enforcement proceedings occur after termination of this
                                                                                              16 action. I hereby appoint                                                            [print
                                                                                              17 or type full name] of                                                        [print or type
                                                                                              18 full address and telephone number] as my California agent for service of process in
                                                                                              19 connection with this action or any proceedings related to enforcement of this Stipulated
                                                                                              20 Protective Order.
                                                                                              21        Date:
                                                                                              22
                                                                                                        City and State where signed:
                                                                                              23
                                                                                              24
                                                                                              25        Printed name:

                                                                                              26        Signature:
                                                                                              27
                                                                                              28                                               23
                                                                                                                                  STIPULATED PROTECTIVE ORDER
